           Case 4:17-cv-01988-KOB Document 13 Filed 08/03/18 Page 1 of 1                       FILED
                                                                                      2018 Aug-03 AM 11:30
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

MISTY HOOD,                ]
                           ]
     Plaintiff,            ]
                           ]
v.                         ]                              CIVIL ACTION NO.:
                           ]                               4:17-CV-1988 KOB
                           ]
HOLLOWAY CREDIT SOLUTIONS, ]
LLC,                       ]
     Defendant.            ]
                           ]


                          FINAL ORDER OF DISMISSAL

         The court, having received the "Joint Stipulation of Dismissal" (doc. 12),

DISMISSES this case WITH PREJUDICE, with each party to bear her or its own

costs.

         DONE and ORDERED this 3rd day of August, 2018.


                                      ____________________________________
                                      KARON OWEN BOWDRE
                                      CHIEF UNITED STATES DISTRICT JUDGE




                                        Page 1 of 1
